Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 1 of 49 PageID #: 11




                      EXHIBIT A
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 2 of 49 PageID #: 12
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 3 of 49 PageID #: 13
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 4 of 49 PageID #: 14
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 5 of 49 PageID #: 15
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 6 of 49 PageID #: 16
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 7 of 49 PageID #: 17
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 8 of 49 PageID #: 18
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 9 of 49 PageID #: 19
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 10 of 49 PageID #: 20
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 11 of 49 PageID #: 21
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 12 of 49 PageID #: 22
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 13 of 49 PageID #: 23
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 14 of 49 PageID #: 24
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 15 of 49 PageID #: 25
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 16 of 49 PageID #: 26
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 17 of 49 PageID #: 27
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 18 of 49 PageID #: 28
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 19 of 49 PageID #: 29
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 20 of 49 PageID #: 30
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 21 of 49 PageID #: 31
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 22 of 49 PageID #: 32
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 23 of 49 PageID #: 33
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 24 of 49 PageID #: 34
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 25 of 49 PageID #: 35
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 26 of 49 PageID #: 36
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 27 of 49 PageID #: 37
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 28 of 49 PageID #: 38
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 29 of 49 PageID #: 39
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 30 of 49 PageID #: 40
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 31 of 49 PageID #: 41
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 32 of 49 PageID #: 42
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 33 of 49 PageID #: 43
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 34 of 49 PageID #: 44
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 35 of 49 PageID #: 45
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 36 of 49 PageID #: 46
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 37 of 49 PageID #: 47
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 38 of 49 PageID #: 48
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 39 of 49 PageID #: 49
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 40 of 49 PageID #: 50
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 41 of 49 PageID #: 51
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 42 of 49 PageID #: 52
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 43 of 49 PageID #: 53
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 44 of 49 PageID #: 54
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 45 of 49 PageID #: 55
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 46 of 49 PageID #: 56
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 47 of 49 PageID #: 57
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 48 of 49 PageID #: 58
Case 2:21-cv-00286-JRG Document 1-2 Filed 07/28/21 Page 49 of 49 PageID #: 59
